                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION
                                           )
UNITED STATES OF AMERICA,                  )
    Plaintiff,                             )       Criminal No. 17:CR-11 LRR
                                           )
vs.                                        )       DEFENDANT’S BRIEF IN
                                           )       SUPPORT OF HIS SENTENCING
FADI YASSINE,                              )       MEMORANDUM
     Defendant.                            )
                                           )

           COMES NOW, the Defendant, by and through counsel, and submits the

following in advance of sentencing in this matter. The Defendant does not believe

there are any factual disputes that the Court needs to resolve at sentencing. The

Defendant does not intend to call any witnesses or offer any exhibits. The legal

issues for the Court to resolve at sentencing are: (1) the application of USSG §

2K2.1(b)(1)(D); (2) the application of USSG § 2K2.1(b)(6)(A); (3) whether an upward

departure is warranted as noted in Paragraph 120 of the presentence report under

Application note 13(C) to §2K2.1; (4) whether a downward departure is appropriate

under USSG § 5H1.5 comment n. 1(B); (5) whether a downward departure is

appropriate under USSG § 5K2.0; (6) the appropriate sentence under 18 U.S.C.

§3553.

      I.      GUIDELINES CALCULATIONS.

           The Defendant does not contest the facts that form the basis for the probation

office’s Guideline calculations, just the legal conclusions that stem from those facts.

As such, the Defendant is not calling any witnesses or offering any exhibits at


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sentencing. While the Defendant raises two objections to the legal conclusions that

form the basis for the probation office’s submission that the base offense level is 28,

if the Court finds that the Defendant is correct on one of the objections, the

remaining objection would have no effect on the because the minimum base offense

level would then be 26 pursuant to USSG §2M5.2.

      A. USSG § 2K2.1(b)(1)(C) SHOULD APPLY RATHER THAN 2K2.1(b)(1)(D)
         BECAUSE THE DEFENDANT SHOULD ONLY BE HELD
         RESPONSIBLE FOR 25-99 FIREARMS.

      The Defendant submits that he should receive a six-level enhancement,

rather than an eight-level enhancement under the facts of this case. The Defendant

does not dispute that he helped broker the sale of some of the firearms brought over

to Lebanon by the Herz’s, that he communicated with Bassam Herz about what

kinds of firearms would sell well in Lebanon, or that if Bassam Herz had requested

him to help broker more firearms in Lebanon, he would have done so. However, as

clear from PSR §§ 21 and 26, the Facebook communications show that Bassam Herz

was somewhat blowing the Defendant off when he was trying to involve himself in

further dealings with the Herz’s. As further noted in paragraph 27, there was a

split happening between Bassam Herz and Ali Herz that had nothing to do with the

Defendant, which helps explain why the Defendant may no longer have been

contacted to help facilitate the Lebanon transactions for the future shipments.

      Under these somewhat unique facts of this case, the Defendant submits that

he should be held responsible for all of the firearms from the first shipment that he

helped broker the sales for, but not for the subsequent shipments that he did not



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broker the sales for the Herz’s. As the probation officer correctly notes, the

Defendant was not involved with the March 2015 shipment of firearms. (Probation

Officer’s Response to Objection No. 4). The probation officer also correctly notes, the

Defendant successfully brokered the sale of 30 firearms from February of 2014 and

sought, unsuccessfully, to participate in the sale of more firearms. (Probation

Officer’s Response to Objection No. 5). However, the probation officer determined

that the communications by the Defendant (the purpose of which are not contested

by the Defendant) meant that the Defendant was attempting to participate in

further shipments around the time of the August 2014 shipment, therefore he

should be held responsible for the 70 firearms in that shipment. Id. The Defendant

suggests that even though he would have continued to participate had he not been

cut out of the transactions, his desire to participate in further transactions if he

could get paid do not rise to the level of “unlawfully sought to obtain” possession of

the firearms because he did not know until afterwards that the shipment had

arrived, or how many firearms were in the August 2014 shipment. Therefore the

Defendant submits he should not be responsible for these additional firearms under

the Guidelines.

      United States v. Vega, 720 F.3d 2002 (8th Cir. 2013) does stand for the

proposition that a defendant is responsible for all of the firearms stolen during the

burglary of firearms where he was the lookout, despite not personally possessing

each of the firearms. Similarly, Mr. Yassine should properly be accountable for the

30 firearms he helped broker, even though he did not personally possess all of those



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firearms. Vega does not stand for the proposition that subsequent criminal activity

by members of the conspiracy who have eliminated the defendant from the

conspiracy should still cause the defendant to receive enhancements for firearms

that he not only did not possess, but did not broker the sales of the firearms.

      Instead, this case is more akin to United States v. Willett, where the Eighth

Circuit rejected a similar argument that a defendant is liable for all of the

reasonably foreseeable future actions of prior coconspirators. As the Circuit

explained,

      When a defendant is convicted under 18 U.S.C. § 922(j), the base offense level
      is determined by USSG § 2K2.1(a). A four-level specific offense characteristic
      also applies “[i]f the defendant engaged in the trafficking of firearms.” USSG
      § 2K2.1(b)(5) (emphasis added).2 The commentary to § 2K2.1 provides that
      “[t]he term ‘defendant,’ consistent with § 1B1.3 (Relevant Conduct), limits the
      accountability *549 of the defendant to the defendant's own conduct and
      conduct that the defendant aided or abetted, counseled, commanded, induced,
      procured, or willfully caused.” USSG § 2K2.1, comment. (n.13(B)) (emphasis
      added).

       This limitation means that the defendant is accountable only for conduct
      described in USSG § 1B1.3(a)(1)(A), which mirrors application note 13 to
      USSG § 2K2.1. He is not accountable for reasonably foreseeable acts of
      others, as described in § 1B1.3(a)(1)(B). Reasonable foreseeability is
      ordinarily part of the relevant conduct analysis under § 1B1.3, but this
      approach governs only “unless otherwise specified.” USSG § 1B1.3(a). The
      commentary to § 2K2.1 conspicuously omits any reference to the
      foreseeability aspect of relevant conduct, and expressly “limits” the
      defendant's accountability to conduct described in § 1B1.3(a)(1)(A). See
      United States v. Delgado-Paz, 506 F.3d 652, 655-56 (8th Cir.2007) (applying
      substantially identical commentary from USSG § 5C1.2); United States v.
      Pena-Sarabia, 297 F.3d 983, 987-88 (10th Cir.2002) (same). Reasonable
      foreseeability is thus immaterial to the analysis. United States v. Strange,
      102 F.3d 356, 360 (8th Cir.1996).

      The district court's determination that Willett was responsible for trafficking
      in firearms was based on an erroneous interpretation of § 2K2.1(b)(5). The
      court thought the definitions section of the commentary to § 2K2.1 referred

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       back to “the foreseeability of harm,” (S. Tr. 17-18), and the court thus
       appeared to apply the specific offense characteristic based on what Willett
       knew or had reason to believe about trafficking by Garr and Vieth. The court
       did not consider whether Willett engaged in the trafficking of firearms based
       solely on his own conduct, or conduct that he aided or abetted, counseled,
       commanded, induced, procured, or willfully caused.

United States v. Willett, 623 F.3d 546, 548-549 (8th Cir. 2010).

       For all of these reasons, the Defendant suggests he should be held

responsible for 25-99 firearms.

       B. THE ENHANCEMENT UNDER USSG 2K2.1(b)(6)(A) SHOULD NOT
          APPLY.

       Willett also supports the Defendant’s objection to the application of USSG §

2K2.1(b)(6)(A) because the Defendant did not personally purchase, or possess,

firearms in the United States to ship to Lebanon. Id. Because the language of the

Guideline suggests that this enhancement only applies to individual actions by the

Defendant, not what the “offense involves” (see Objection to Paragraph 44).

Counsel submits that this language supersedes the language in §1B1.3 due to

§1B1.3 stating it only applies “unless otherwise specified.” See Willett, 623 F.3d at

548049. For these reasons the Defendant submits that because he did not

personally cause the shipment of the firearms, nor did he personally possess the

firearms in the United States or bring them personally to Lebanon, this

enhancement should not apply.

       C. THE DEFENDANT SHOULD NOT GET AN UPWARD DEPARTURE.

       The Defendant submits that the upward departure under § 2K2.1 comment

(n. 13(C)) should not apply to him. Even if this Court determines that the

Defendant should be responsible for the firearms shipped in subsequent shipment
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should be attributed to him, the fact that he did not further engage in the brokering

of the sale of those guns, should mitigate the number of firearms shipped and

prevent the application of the upward departure.

      D. THE DEFENDANT SHOULD RECEIVE A DOWNWARD DEPARTURE
         BECAUSE HIS FAMILY IS RELIANT UPON HIM DUE TO HIS
         UNIQUE ECONOMIC SITUATION, AND BECAUSE HE WILL NOT BE
         ABLE TO RECEIVE ANY VISITORS FROM LEBANON FROM HIS
         IMMEDIATE FAMILY.

      The Defendant requests the Court consider a downward departure under

USSG §§ 5H1.6 comment n. 1(B) and 5K2.0 because of his unique family and

economic situation in Lebanon, and the fact that he will serve his prison sentence

without being able to receive visitors from his immediate family. USSG § 5H1.6

comment n.1(B) sets forth when the Court can consider a departure in an unusual

case for the loss of caretaking and financial support.

      (B) Departures Based on Loss of Caretaking or Financial Support.—A
      departure under this policy statement based on the loss of caretaking or
      financial support of the defendant’s family requires, in addition to the court’s
      consideration of the non-exhaustive list of circumstances in subdivision (A),
      the presence of the following circumstances:

      (i) The defendant’s service of a sentence within the applicable guideline range
      will cause a substantial, direct, and specific loss of essential caretaking, or
      essential financial support, to the defendant’s family.

      (ii) The loss of caretaking or financial support substantially exceeds the harm
      ordinarily incident to incarceration for a similarly situated defendant. For
      example, the fact that the defendant’s family might incur some degree of
      financial hardship or suffer to some extent from the absence of a parent
      through incarceration is not in itself sufficient as a basis for departure
      because such hardship or suffering is of a sort ordinarily incident to
      incarceration.

      (iii) The loss of caretaking or financial support is one for which no effective
      remedial or ameliorative programs reasonably are available, making the

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      defendant’s caretaking or financial support irreplaceable to the defendant’s
      family.

      (iv) The departure effectively will address the loss of caretaking or financial
      support.

      The Lebanese economic condition of families is vastly different than those of

families in the United States. See, e.g., http://www.theodora.com/wfbcurrent/

lebanon/lebanon_economy.html (noting struggles in the economy in Lebanon after

the Civil War in 1975-1990. While the Defendant has supported his wife’s career

goals, selling land and taking out a loan so she could obtain advanced education, it

is still more difficult in Lebanon for a woman to support a family without the

assistance of a male worker in the home. While Lebanon recognizes more woman’s

rights that other countries in the region, it is still not on par with the rights of

female workers in the United States. See, e.g., https://en.wikipedia.org/wiki/

Women_in_Lebanon (noting progress, but not equality, in gender rights). As such,

the Defendant’s wife and children will struggle more than the average family of a

Defendant sentenced by this Court in other cases, rendering a departure under

USSG § 5H1.6 comment n.1(B) appropriate in this case.

      In addition, the Defendant’s wife had her visa cancelled as a result of this

offense. As such, it seems unlikely that she will be able to visit, or to bring his

children to visit, him in prison in the United States. The Defendant requests the

Court consider a departure under section 5K2.0 for this reason.




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II.     REASONABLE SENTENCE AND VARIANCE.

        The Defendant submits that a reasonable sentence under 18 U.S.C. § 3553

would be a below guideline sentence in this case. While the Defendant

acknowledges the seriousness of this offense, mitigating factors exist that support a

downward variance from the Guidelines. Specifically, the Defendant has strong

family ties with individuals who strongly support him and young children. He

supported his wife going to get her advanced degree, and he helps care for his aging

mother. He does not speak English and struggles to maintain any sort of

communication with other inmates within the jail and prison system and he cannot

receive in person visits from any of his immediate family. His incarceration is more

difficult than an average defendant as a result.

        For all of these reasons, the Defendant requests a below guideline sentence.



Respectfully submitted,

                                                        /s/ Angela Campbell
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         CERTIFICATE OF SERVICE
       I hereby certify that on July 17, 2017, I
  electronically filed this document with the Clerk
 of Court using the ECF system which will serve it
 on the appropriate parties. I also emailed a copy of
     the document to opposing counsel and the
    probation office.

                 /s/ Angela Campbell

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